
PER CURIAM.
The appellant, Delbridge Edwards, appeals the orders revoking probation in two separate cases. We conclude that the trial court was without jurisdiction to revoke the appellant’s probation in case number 97-367, because he was no longer on probation for the offense in that case when the revocation process was set in motion. Accordingly, we reverse and remand with directions to vacate the order revoking probation and imposing the judgment and sentence in case number 97-367. Because the appellant’s arguments regarding the revocation in case number 97-832 are without merit, the order revoking probation in that case is affirmed.
Affirmed in Part and Reversed in Part.
BOOTH, DAVIS &amp; PADOVANO, JJ., concur.
